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                    In the United States Court of Federal Claims
                                            No. 01-627C
                                     (Filed February 19, 2010)


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                                                         *
TIMBER PRODUCTS COMPANY,                                 *
                                                         *
                                                         *
                        Plaintiff,                       *
                                                         *
               v.                                        *
                                                         *
UNITED STATES OF AMERICA,                                *
                                                         *
                        Defendant.                       *
                                                         *
* * * * * * * * * * * * * * * * * * * * * * ** * * * *

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                                  SCHEDULING ORDER
                    __________________________________________________

      In accordance with the agreement of the parties, the Court schedules a telephonic
 conference call for March 2, 2010, at 12:00pm. The call will be initiated by the Court.



                                               s/Mary Ellen Coster Williams
                                               MARY ELLEN COSTER WILLIAMS
                                               Judge
